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                        Supreme Court of the United States
                               Office of the Clerk
                           Washington , DC 20543-0001

                                                                         Scott S. Harris
                                                                         Clerk of the Court
                                                                         (202) 479-3011


                                          June 10, 2019


    M. Miller Baker, Esq.
    McDermott Will & Emery LLP
    500 North Capitol Street, N. W.
    Washington, D. C. 20001

          Re:   Intermountain Health, et al.
                v. U.S., ex rel. Polukoff, et al.,
                No. 18-911

  Dear Mr. Baker:

         Attached are certified copies of the motion to dismiss the petition for writ of
  certiorari, received on May 30, 2019, and the order of dismissal pursuant to Rule 46.2 of the
  Rules of this Court.


                                                           Sincerely,



                                                           Byr~
                                                           SCOTT S. HARRIS, Clerk



                                                           Herve' Bocage
                                                           Assistant Clerk


  Enc.
  cc:    All Counsel of Record
         Clerk, USCA for the Tenth Circuit
           (Your docket No. 17-4014)
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                        Supreme Court of the United States

                                           No.   18-911


                     INTERMOUNTAIN HEALTH CARE, INC., ET AL.,

                                                                                Petitioners
                                                 V.

                UNITED STATES, EX REL. GERALD POLUKOFF, ET AL.

      (10 June 19 - OT 2018). The foregoing motion to dismiss the petition for writ of

  certiorari having been received by the Office of the Clerk, and no fees due the Clerk, the

  petition for writ of certiorari is now hereby dismissed pursuant to Rule 46.2 of the Rules of

  this Court.




   (Seal)                                                  SCOTT S. HARRIS
                                                           Clerk of the Supreme Court
                                                             of the United States
                                                           By:   f}~~AeJI
                                                           Danny Bickell
                                                           Deputy Clerk
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                      CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rule 29.6 of the Supreme Court Rules, petitioners state that the

    Corporate Disclosure Statement submitted in their petition remains current.

               UNOPPOSED MOTION TO DISMISS UNDER RULE 46.2

          Pursuant to Supreme Court Rule 46.2, petitioners Intermountain Health Care,

    Inc. and IHC Health Services, Inc. respectfully request that this case be dismissed

    without any award of costs by this Court.

          Counsel of record for respondent Pol ukoff and counsel of record for respondent

    the United States have consented to petitioners' requested dismissal on these terms.

          Respondents St. Mark's Hospital, Sherman Sorensen, and Sorensen

    Cardiovascular Group are aligned with petitioners and their counsel have not entered

    appearances in this Court.

          Respectfully submitted,

                                                Isl M. Miller Baker
                                                M. Miller Baker
                                                  Counsel of Record
                                                Sarah P. Hogarth
                                                MCDERMOTT WILL & EMERY LLP
                                                500 North Capitol Street NW
                                                Washington, DC 20001
                                                (202) 756-8000
                                                mbaker@mwe.com

                                 Attorneys for Petitioners
    May 15, 2019
